   Case 4:18-cv-01547 Document 38-1 Filed in TXSD on 09/28/18 Page 1 of 10



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

PEOPLE FOR THE ETHICAL TREATMENT §
OF ANIMALS, INC.,                 §
      Plaintiff,                  §
                                  §
v.                                §                   No. 4:18-CV-01547
                                  §
MICHAEL K. YOUNG, IN HIS OFFICIAL §
CAPACITY AS PRESIDENT OF TEXAS    §
A&M UNIVERSITY,                   §
      Defendant.                  §

DEFENDANT’S PROPOSED REQUESTS FOR PRODUCTION, REQUESTS FOR ADMISSION,
               AND INTERROGATORIES TO PLAINTIFF PETA


TO:   Plaintiff People for the Ethical Treatment of Animals, Inc. (“PETA”), by and
      through their attorneys of record via CM/ECF.

      Pursuant to the Court’s Order and Federal Rules of Civil Procedure 26, 33,

34 and 36, Defendant Michael K. Young, in his official capacity as President of Texas

A&M University (“TAMU”) respectfully proposes the following requests for

discovery in the above-captioned cause. You are hereby requested to serve your

responses to these Requests upon undersigned counsel for Defendant within thirty

(30) days of the Court’s order effecting service or otherwise ordering you to respond

to the same. These Requests shall be deemed continuing so as to require you or your

attorney to reasonably supplement your responses if you, your attorney or any other

person acting on your behalf obtain further documents between the time of your

responses and time of trial. FED. R. CIV. P. 26(e).




                                           1
   Case 4:18-cv-01547 Document 38-1 Filed in TXSD on 09/28/18 Page 2 of 10



                                       Respectfully submitted,

                                       KEN PAXTON
                                       Attorney General of Texas

                                       JEFFREY C. MATEER
                                       First Assistant Attorney General

                                       BRANTLEY STARR
                                       Deputy First Assistant Attorney General

                                       JAMES E. DAVIS
                                       Deputy Attorney General for Civil
                                       Litigation

                                       DAVID A. TALBOT
                                       Acting Chief, General Litigation Division

                                       /s/Anne Marie Mackin
                                       ANNE MARIE MACKIN
                                       Texas Bar No. 24078898
                                       Assistant Attorney General
                                       General Litigation Division
                                       P.O. Box 12548, Capitol Station
                                       Austin, Texas 78711-2548
                                       (512) 475-4074
                                       (512) 320-0667 FAX
                                       anna.mackin@oag.texas.gov

                                       ATTORNEYS FOR DEFENDANT

                            CERTIFICATE OF SERVICE

      I certify that on August 28, 2018, these proposed requests for discovery were

filed electronically via the Court’s CM/ECF system, causing electronic service upon

all counsel of record.


                                       /s/Anne Marie Mackin
                                       ANNE MARIE MACKIN
                                       Assistant Attorney General


                                        2
     Case 4:18-cv-01547 Document 38-1 Filed in TXSD on 09/28/18 Page 3 of 10



                           DEFINITIONS & INSTRUCTIONS

1.     “Person” means the plural as well as the singular and includes: natural
       persons, corporations, firms, associations, partnerships, joint ventures, trusts,
       estates, or any other form of legal entity; and governmental agencies,
       departments, units, or subdivisions thereof.

2.     “You,” “your” or “Plaintiff” means People for the Ethical Treatment of
       Animals, Inc. (“PETA”), and any representative acting or purporting to act on
       PETA’s behalf. This includes, without limitation, its arms, divisions,
       subsidiaries, and affiliated or related entities (including PETA Latino and
       PETA2), employees, attorneys, consultants, agents, or any other
       representative.

3.     “Defendant,” “Young” or “TAMU” means Michael K. Young, in his official
       capacity as president of Texas A&M University, and any representative acting
       or purporting to act on his behalf in that capacity, including but not limited to
       employees, attorneys, consultants, agents, or any other representative.

4.     “Complaint” refers to PETA’s First Amended Complaint (Dkt. 17), and any
       subsequent amendments and/or supplements thereto.

5.     “Document” means all writings of every kind, source and authorship, both
       originals and all non-identical copies thereof, in your possession, custody, or
       control. The term shall include handwritten, typewritten, printed, photocopied,
       photographic, or electronically recorded matter. For purposes of illustration
       and not limitation, the term shall include: emails, Facebook postings, social
       media postings, letters, journals, diaries, bank statements, charts, Excel
       spreadsheets, handwritten notes, affidavits, schedules, workpapers, audio
       recordings, video recordings, transcriptions, contracts, agreements, and
       memoranda of any kind.

6.     “Communication” means the transmittal of information in the form of facts,
       ideas, inquiries, or otherwise. The term “communication” means the
       transmittal of information (in the form of facts, ideas, inquiries or otherwise),
       including statements, discussions, conversations, correspondence, speeches,
       meetings, remarks, questions, answers, panel discussions, and symposia,
       whether written or oral. The term includes, without limitation of generality,
       both communications and statements which are face-to-face, and those which
       are transmitted by means of intercom, telephone, television, radio, mail,
       facsimile, or email/electronic mail.




                                           3
     Case 4:18-cv-01547 Document 38-1 Filed in TXSD on 09/28/18 Page 4 of 10



7.      “Identify” when referring:

               a.    to a person, means to state the full name, the present or last
                     known address, telephone number(s), and email address(es);

               b.    to a document, means to give a reasonably detailed description
                     thereof, including, if applicable, when, where, and how it was
                     made; to identify who made it; and to identify who has present, or
                     last known, possession, custody, or control of the document;

               c.    to an organization or business entity, means to state its full name
                     and present or last known address and telephone number;

               d.    to a statement, means to describe its contents, list the date and
                     location where it was made, identify who made the statement,
                     and identify who has custody or control of any recording of the
                     statement.

     8. Privilege log request. If any document is withheld on the basis of privilege,
        you are instructed, pursuant to Rule 26(b)(5), to produce a privilege log within
        30 days identifying the privilege claimed and document withheld, the date of
        the document, the originator(s) and recipient(s) of the document, and all
        persons who reviewed, read, or participated in creating the document. Your
        response must be sufficient to allow Defendant’s counsel to determine the
        propriety of the privilege.

     9. Time period. Unless otherwise stated, the time period for each request is from
        January 1, 2016 to the present, and the requests are continuing, meaning they
        should be supplemented through date of final trial on the merits.

     10. Duty to specifically admit or deny and make reasonable inquiry in
         responding to Requests for Admissions. Pursuant to Federal Rule of Civil
         Procedure 36(a)(4), “[i]f a matter is not admitted, the answer must specifically
         deny it or state in detail why the answering party cannot truthfully admit or
         deny it. A denial must fairly respond to the substance of the matter;
         and when good faith requires that a party qualify an answer or deny
         only a part of a matter, the answer must specify the part admitted and
         qualify or deny the rest. The answering party may assert lack of knowledge
         or information as a reason for failing to admit or deny only if the party states
         that it has made reasonable inquiry and that the information it knows or
         can readily obtain is insufficient to enable it to admit or deny.”




                                            4
    Case 4:18-cv-01547 Document 38-1 Filed in TXSD on 09/28/18 Page 5 of 10



                                  REQUESTS FOR PRODUCTION

REQUEST NO. 1: Please produce the full download/complete .zip file of PETA’s 1
Facebook Page, located on the Page Administrator’s account at Settings > General >
Download Page.

REQUEST NO. 2: Please produce copies of all content that PETA distributed about
TAMU’s canine research laboratory. This includes, without limitation, social media
posts, emails, robocalls, scripts for live telephone calls, form letters, videos,
advertisements, text messages, direct mail, direct messages, automated messages
including those on social media, advertisements, and promotional content designed
to incentivize individuals to share the content with others.

REQUEST NO. 3: Please produce copies of the materials that PETA consulted in its
assessment—if any—of whether the content PETA distributed about TAMU’s canine
research laboratory is truthful.

REQUEST NO. 4: To the extent not produced in response to Request No. 3 above,
please produce copies of the materials that PETA consulted in preparing the content
that PETA distributed about TAMU’s canine research laboratory.

REQUEST NO. 5: Please produce documents sufficient to show the information PETA
collected and/or received to assess the progress of its “public awareness” and
“advocacy campaign” against TAMU, as mentioned in Paragraphs 1 and 33 of the
First Amended Complaint.

REQUEST NO. 6: Please produce copies of PETA’s internal and external
communications (including, without limitation, emails, texts, memoranda, and all
other correspondence) discussing PETA’s investigation into TAMU’s canine research
laboratory. This includes, without limitation, communications among or within
leadership, investigators, and/or social media team members.

REQUEST NO. 7: Please produce copies of PETA’s internal and external
communications (including, without limitation, emails, texts, memoranda, and all
other correspondence) discussing PETA’s “public awareness” and “advocacy
campaign” against TAMU, as mentioned in Paragraphs 1 and 33 of the First
Amended Complaint. This includes, without limitation, communications among or
within leadership, investigators, and/or social media team members.

REQUEST NO. 8: Please produce documents sufficient to show the other institutions
engaged in muscular dystrophy research that PETA has researched and/or
investigated, and the findings of those investigations.

1Please note the definition of PETA in Definitions & Instructions portion of these Proposed Requests,
which include all of its arms, divisions, subsidiaries, and related entities including but not limited to
PETA Latino and PETA2.

                                                   5
   Case 4:18-cv-01547 Document 38-1 Filed in TXSD on 09/28/18 Page 6 of 10




REQUEST NO. 9: Please produce a copy of the Page Moderation Settings applicable to
PETA’s Facebook Page (https://www.facebook.com/official.peta/) as of September 27,
2018.

REQUEST NO. 10: Please produce copies of documents sufficient to show PETA’s
content calendar, marketing campaign, or equivalent reflection of the advocacy plan
for PETA’s “public awareness” and “advocacy campaign” against TAMU, as
mentioned in Paragraphs 1 and 33 of the First Amended Complaint.

REQUEST NO. 11: Please produce copies of the training materials that PETA
distributes to those interested in participating in demonstrations, protests, and other
activities designed to disrupt meetings and events




                                          6
   Case 4:18-cv-01547 Document 38-1 Filed in TXSD on 09/28/18 Page 7 of 10



                           REQUESTS FOR ADMISSIONS

REQUEST NO. 1: Admit or deny that PETA supporters have made threats against
TAMU employees.

REQUEST NO. 2: Admit or deny that PETA can send a private message to TAMU via
TAMU’s Facebook page.

REQUEST NO. 3: Admit or deny that universities use their social media accounts for
customer service.

REQUEST NO. 4: Admit or deny that therapies for DMD researched in canines at
TAMU have been approved for human clinical trials.




                                        7
   Case 4:18-cv-01547 Document 38-1 Filed in TXSD on 09/28/18 Page 8 of 10



                                 INTERROGATORIES

INTERROGATORY NO. 1: Please describe the process and accompanying technologies
that PETA has used to create and/or distribute automated messages on its
supporters’ personal social media accounts in the course of the “public awareness”
and “advocacy campaign” against TAMU, as mentioned in Paragraphs 1 and 33 of the
First Amended Complaint.

INTERROGATORY NO. 2: Please identify all occasions and means through which each
content item identified in response to Request for Production 1, supra, was
distributed during PETA’s “public awareness” and “advocacy campaign” against
TAMU, as mentioned in Paragraphs 1 and 33 of the First Amended Complaint.

INTERROGATORY NO. 3: Please identify all occasions on which PETA and PETA2 have
communicated with supporters offering PETA points and/or other incentives for those
supporters to post on TAMU’s social media accounts and/or TAMU social media
content about Texas A&M’s canine research laboratory.

INTERROGATORY NO. 4: Please identify all occasions on which PETA and PETA2
social media channels have mentioned and/or tagged TAMU on social media from
November 2016 to the present.

INTERROGATORY NO. 5: To the extent not identified in your responses to
Interrogatories 1-4, above, please list the activities that PETA has undertaken during
its “public awareness” and “advocacy campaign” against TAMU, as mentioned in
Paragraphs 1 and 33 of the First Amended Complaint.

INTERROGATORY NO. 6: Do you contend that the content PETA generated about
TAMU’s canine research laboratory is true? If so, please state the basis for that
contention.

INTERROGATORY NO. 7: What efforts, if any, did PETA engage in to assess the truth
or falsity of the content that PETA distributed about TAMU’s canine research
laboratory? If none, please so state.

INTERROGATORY NO. 8: Please describe the process by which PETA validated that
the photography and videography of contained in its content about TAMU’s canine
research laboratory was shot at TAMU. If PETA did not take steps to validate that
this photography and videography was shot at TAMU, please so state.

INTERROGATORY NO. 9: During the entire period when PETA changed its Twitter
account name description to “Stop TAMU Dog Labs,” (approximately August 26, 2018
– September 2, 2018), please list:



                                          8
   Case 4:18-cv-01547 Document 38-1 Filed in TXSD on 09/28/18 Page 9 of 10



      i.    the number of times PETA posted about animal abuse, and;
      ii.   the number of posts (within your response to part i) that were about
            TAMU.

INTERROGATORY NO. 10: Please identify the social media accounts from which PETA
has ever been blocked, filtered, or otherwise excluded.

INTERROGATORY NO. 11: Other than the comments and visitor posts sections of
TAMU’s Facebook page, please identify the other settings from which PETA contends
its speech about TAMU’s canine research laboratory has been excluded. This includes
both online and spaces in the physical world. If none, please so state.

INTERROGATORY NO. 12: Please identify the social media user accounts which PETA
has blocked, filtered, or otherwise excluded from interacting with its social media
accounts.

INTERROGATORY NO. 13: Do you contend that the TAMU actions alleged in the First
Amended Complaint violate TAMU’s social media policy, attached to that Complaint
as Exhibit A? If so, please state the basis for that contention.

INTERROGATORY NO. 14: Please describe all efforts PETA has undertaken to
encourage its supporters to participate in its “public awareness” and “advocacy
campaign” against TAMU, as mentioned in Paragraphs 1 and 33 of the First
Amended Complaint. In your response, please an explanation of the “PETA Points”
program, and how it was used to incentivize individuals to participate in this
campaign.




                                        9
   Case 4:18-cv-01547 Document 38-1 Filed in TXSD on 09/28/18 Page 10 of 10



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

PEOPLE FOR THE ETHICAL TREATMENT §
OF ANIMALS, INC.,                 §
      Plaintiff,                  §
                                  §
v.                                §              No. 4:18-CV-01547
                                  §
MICHAEL K. YOUNG, IN HIS OFFICIAL §
CAPACITY AS PRESIDENT OF TEXAS    §
A&M UNIVERSITY,                   §
      Defendant.                  §

                   VERIFICATION OF INTERROGATORIES

STATE OF TEXAS            §
                          §
COUNTY OF _______________ §

      BEFORE ME, the undersigned authority, personally appeared PETA’s

representative, ___________________________ who stated, upon oath, that the

statements made in the foregoing instrument are within his personal knowledge and

are true and correct.


                                     __________________________________
                                     [Signature]
                                     __________________________________
                                     [Printed name]


      SUBSCRIBED AND SWORN TO BEFORE ME on _____________________,

20_____ by __________________________________.



                                     __________________________________
                                     Notary Public, State of Texas
